Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 1 of 13 PAGEID #: 7983



                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

 Robert Ross, Individually,                 :   Consolidated Case Nos.
 and on behalf of all others                    2:05-cv-0819
 similarly situated,                        :   2:05-cv-0848
                                                2:05-cv-0879
             Plaintiff,                     :   2:05-cv-0893
                                                2:05-cv-0913
       v.                                   :   2:05-cv-0959

 Abercrombie & Fitch Company,               :
 et al.,
                                            :   JUDGE SARGUS
             Defendants.
                                            :


                              OPINION AND ORDER


                             I.   Introduction
       In an order filed on April 22, 2008, this Court denied
 plaintiffs’ motion to compel discovery.            That motion asked the
 Court to order the disclosure of the report of a Special
 Litigation Committee which Abercrombie had commissioned to
 determine if pursuing a derivative action was in Abercrombie’s
 best interests.      The Court reasoned that it was bound by the
 Court of Appeals’ decision in In re Perrigo Co., 128 F.3d 430
 (6th Cir. 1997) to keep the report sealed given the posture of
 the derivative cases at that point - namely, that the report had
 been filed under seal in support of a motion to dismiss those
 cases, but the Court had not ruled on that motion.              In a separate
 order issued on March 14, 2008, and applicable only to the
 derivative actions, the Court compelled Abercrombie to turn over
 to the plaintiffs in that case the documents relied upon by the
 Special Litigation Committee in preparing its report.
       The Court has now dismissed the derivative actions based
 upon its determination that the report had been independently
Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 2 of 13 PAGEID #: 7984



 prepared and set forth a reasonable basis for concluding that
 pursuing the derivative actions was not in Abercrombie’s best
 interests.     See Opinion and Order of March 12, 2009 (Doc. #311 in
 Case No. 2:05-cv-819).       That Opinion and Order is part of the
 public record.     See Order of March 27, 2009 (Doc. #323).
 Subsequently, on August 18, 2009, plaintiffs renewed their motion
 to compel production of that report and the related documents.
 Although styled as a motion to compel discovery, the central
 issues which it raises are (1) whether the report, which was
 filed under seal in the derivative actions, should now be made
 part of the public record, and (2) if so, whether the plaintiffs
 are entitled to obtain, through discovery in these securities
 cases, the documents underlying the report itself.
         Following what it believed to be the procedure mandated by
 Perrigo, on November 16, 2009, the Court issued an Opinion and
 Order directing the Clerk to set the motion for a hearing.                 Ross
 v. Abercrombie & Fitch Co., 2009 WL 3855497 (S.D. Ohio November
 16, 2009).     That hearing was scheduled for December 11, 2009.                On
 December 7, 2009, the Court held a pre-hearing conference.                 At
 the conference, all parties agreed that the issues raised by the
 motion could be resolved on the basis of written submissions
 unless something in the submission to be made by defendants
 convinced plaintiffs that a hearing would be needed.               Defendants
 filed a brief on this issue, in lieu of a hearing, on December 9,
 2009.    Plaintiffs did not request a hearing after that brief was
 filed, but filed their own brief on December 15, 2009.               The
 matter is thus ripe for decision.
                           II.    Framing the Issue
               A.   The Special Litigation Committee Report
      The Court first visited this issue shortly after the motion
 to dismiss was filed in the derivative actions.              In Ross v.
 Abercrombie & Fitch Co., 2008 WL 1844357 (S.D. Ohio April 22,


                                       -2-
Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 3 of 13 PAGEID #: 7985



 2008), the Court, relying on Perrigo, held that the report was
 protected by both the attorney-client privilege and the work
 product doctrine and that the mere filing of the Special
 Litigation Committee’s report was not cause for public disclosure
 of that report.      The Court also noted that, if the issue arose
 after the Court made its decision on the motion to dismiss, “the
 Court will follow Perrigo's directive to hold a hearing
 concerning how much, if any, of the report to make public.”
 Ross, 2008 WL 1844357, *5.        As noted, the parties have elected
 not to have such a hearing but have briefed their positions on
 disclosure of the report.
       In order to frame the issue, it is helpful to repeat some of
 the Court’s discussion from the order setting the Perrigo
 hearing.    There, the Court said:
            The courts in this country have recognized a long-
       standing common law right of public access to “judicial
       documents” - that is, documents relied upon by the
       courts in making decisions - in order that the public
       may know the basis for court decisions and be able to
       make an independent evaluation of whether the decisions
       are actually supported by the record. This is
       especially true for the federal courts. As the court
       stated in United States v. Amodeo, 71 F.3d 1044, 1048
       (2d Cir. 1995), “[t]he presumption of access is based
       on the need for federal courts, although independent -
       indeed, particularly because they are independent - to
       have a measure of accountability and for the public to
       have confidence in the administration of justice.” See
       also Rosado v. Bridgeport Roman Catholic Diocesan
       Corp.. 292 Conn. 1, 43, 970 A.2d 656, 681 (2009)
       (noting that “the presumptive right to public
       observation is at its apogee when asserted with respect
       to documents relating to matters that directly affect
       an adjudication”; Perrigo, 128 F.3d at 440 (“We
       recognize that the public has a right to copy and
       inspect judicial records”), citing, inter alia, Nixon
       v. Warner Communications, 435 U.S. 589, 597 (1978).
       Thus, the fact that the Court has made a decision on
       the basis of information contained in the Special
       Litigation Committee report is a significant factor to
       be considered in determining whether to unseal that

                                       -3-
Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 4 of 13 PAGEID #: 7986



       report. See also In re Continental Illinois Securities
       Litigation, 732 F.2d 1302, 1315 (7th Cir. 1984) (“when
       the report is used in an adjudicative procedure to
       advance the corporate interest, there is a strong
       presumption that confidentiality must be surrendered”).
            As always, when competing interests are involved,
       it is the Court’s duty to weigh those interests before
       determining which result to reach. That is the
       teaching of Perrigo, which held that the district court
       had erred by ordering disclosure of the Special
       Litigation Committee report involved in that case
       without holding a hearing and weighing “the interests
       of the public against the interests of Perrigo in
       maintaining its privilege as to all or part of the
       Report.” Perrigo, 128 F.3d at 440. That weighing must
       included factors such as “[t]he importance of the
       material to the adjudication, the damage disclosure
       might cause, and the public interest in such materials
       ....” Joy v. North, 692 F.2d 880, 893 (2d Cir. 1982).
       Although these interests are difficult to weigh, that
       difficulty does not relieve the Court of its obligation
       to decide how strongly to value the competing interests
       implicated by either unsealing the report or keeping it
       (or parts of it) out of the public domain.

 Ross, 2009 WL 3855497, *2.
       In its latest brief, Abercrombie does not appear to disagree
 that there will be a point at which disclosure of the report is
 appropriate.     However, it argues that “the proper way to strike
 the Perrigo balance under the circumstances of this case is to
 maintain the Report under seal until after the entry of final
 judgment in this class action.”          Defendant Abercrombie & Fitch
 Co.’s Brief Regarding Perrigo Factors, Doc. #360, at 1.               Thus,
 the issue of prejudice from disclosure becomes much narrower -
 that is, the damage which Abercrombie claims will result from
 disclosure of the report is limited to what might happen were
 that disclosure to occur while the class actions are still
 pending.    Further, its only arguments about prejudice to its
 interests are made in that context.           Therefore, the Court will
 examine the potential injuries Abercrombie has identified to its

                                       -4-
Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 5 of 13 PAGEID #: 7987



 ability successfully to defend the class actions to see if any of
 them outweigh whatever interest the public might have in an
 earlier disclosure of the report.
                 B.   The Documents Supporting the Report
       Neither party has distinguished, in their briefs, the issues
 about unsealing the report itself from the issue of whether the
 underlying documents should be produced.            The issues are somewhat
 distinct, however, for at least two reasons.
       First, most, of not all, of the underlying documents were
 not filed in the derivative actions.           Thus, the question here is
 not whether they should be made part of the public record in that
 case, following which the securities plaintiffs would, like any
 other member of the public, have access to them, but whether the
 Court should compel their production in the securities cases.
       Second, the motion to compel production of the report, which
 the Court has been analyzing a motion to unseal it, has not
 technically been filed in the cases in which the report was filed
 under seal.     The filing of the motion to dismiss which included
 the report pertained only to the derivative actions.               These cases
 have been consolidated, but consolidated cases do retain their
 own identity for some purposes.          Nevertheless, Abercrombie is the
 party with the interest in keeping the report sealed, and it is a
 party in both the securities and derivative cases, so it has had
 the opportunity to be heard on the issue of unsealing the report.
 Again, neither party has raised any procedural objections to the
 Court’s consideration of this question in the context of the
 securities plaintiffs’ motion to compel, so the Court will
 proceed to the merits of the issue.           The Court does so
 notwithstanding the order of the Court of Appeals maintaining the
 report under seal.      The Court agrees with plaintiffs that the
 order was a routine procedural order simply continuing this
 Court’s prior sealing order, and that it does not represent


                                       -5-
Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 6 of 13 PAGEID #: 7988



 either an independent determination by the Court of Appeals about
 the propriety of that order, or a decision that divests this
 Court of jurisdiction to consider whether the order should be
 unsealed.
             III.   Abercrombie’s Interest in Non-Disclosure
         Abercrombie has identified one primary interest in delaying
 the disclosure of the report and the underlying documents to the
 end of the case.      It notes that the Court has already found that
 the report contains material or relies on material which is
 protected by the attorney-client privilege and material which is
 work product.      If the plaintiffs are allowed to view the report
 and those materials while this adversary class action is still
 pending, those otherwise-privileged materials will be made
 available to plaintiffs for their use against Abercrombie in this
 case.    However, at least one purpose of the attorney-client
 privilege is to encourage full disclosure of important facts to
 an attorney so that the attorney may give correct legal advice,
 without fear that the information disclosed to the attorney will
 be revealed to persons whose interests may be adverse to the
 client’s.    Further, the primary purposes of the work product
 privilege are to shield the attorneys’ thought processes from
 opposing parties, and to prevent opposing parties from piggy-
 backing on the work done by others in preparing the case.
 According to Abercrombie, all of these important interests are
 dis-served by a disclosure while litigation is pending, whereas
 once the case has been concluded, much of the justification for
 withholding the information from members of the public - who
 happen to include the plaintiffs in these class action cases -
 will have dissipated.       It makes the further point that, as a
 policy matter, allowing disclosure of this type of report when
 parallel securities litigation is pending will discourage
 companies from forming special litigation committees and filing


                                       -6-
Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 7 of 13 PAGEID #: 7989



 their reports in derivative actions for fear that the contents
 will be disclosed to plaintiffs in the securities litigation.
               IV.    The Competing Interests in Disclosure
       The interests favoring disclosure are those which are
 identified above and which have been discussed in the Court’s
 prior orders.       First and foremost is the public’s interest in
 open access to judicial records, especially those which have
 formed all or part of the basis of a publicly-available decision.
 Second, plaintiffs point out that investor confidence will be
 furthered if the report is disclosed to them, because it
 supposedly supports the proposition that Abercrombie management
 acted appropriately notwithstanding the large amount of stock
 that was sold immediately prior to a steep drop in the price of
 Abercrombie’s publicly-traded shares.           While that may be so, the
 Court’s primary interest is, of course, maintaining the long-
 standing tradition of public access to its records and decision-
 making process, which is so valuable for preserving public
 confidence in the court system.
                                V.   Discussion
       In its prior orders, the Court has conducted a fairly
 extensive review of the case law on this subject.              Much of that
 law is cited in Section II of this Opinion and Order.               As the
 Court has also previously discussed, the general import of the
 key cases - particularly Joy v. North, In re Continental
 Securities Litigation, and Perrigo - is that disclosure of
 documents upon which the Court has relied in making a decision is
 the rule rather than the exception, and that the primary way in
 which a party may persuade the Court to deviate from that rule is
 to show specific prejudice from the disclosure of all or a
 portion of the materials in question.           General claims of
 prejudice which focus on the entirety of the materials submitted
 under seal, rather than specific portions of those materials


                                       -7-
Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 8 of 13 PAGEID #: 7990



 which, if disclosed, would cause harm to some identifiable aspect
 of the defendant’s business, are disfavored.             It is true that the
 first two decisions do not appear to have been rendered in the
 context of parallel pending securities litigation, so that the
 potential for harm to the defendant should the plaintiffs in such
 litigation have access to the report and accompanying materials,
 was not considered.       For the following reasons, however, the
 Court does not believe that those cases are any less persuasive.
       First, the Court considers the nature of the materials that
 will be disclosed if the report is unsealed and the motion to
 compel production of the underlying materials is granted.
 Abercrombie represents that it has already produced to the
 securities plaintiffs, in discovery, all or substantially all of
 the documents relied upon by the SLC in making its report.                Thus,
 it would not suffer any additional harm if the Court ordered the
 documents to be produced to these same plaintiffs.              Second,
 certain depositions or interviews of witnesses will be produced.
 Given the volume of discovery which has occurred in this case, it
 seems extremely unlikely that the plaintiffs will discover new
 witnesses through this production, or that they would discover
 new lines of questioning to pursue.           In further seems unlikely
 that these witness statements or depositions will reveal
 sensitive trial strategy.        The statements were presumably taken
 as part of an objective inquiry into whether there was any basis
 for pursuing derivative actions against Abercrombie, and not to
 bolster Abercrombie’s defense to the claims in these securities
 actions.    Additionally, Abercrombie has not analyzed any of these
 statements or depositions separately nor suggested that there are
 any portions of them that, if the plaintiffs were to view them,
 would be either more likely or less likely to prejudice
 Abercrombie’s ability to defend itself in these cases.               In other
 words, although these statements or depositions may well be work


                                       -8-
Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 9 of 13 PAGEID #: 7991



 product, and the general reasons why work product should not be
 disclosed are well-known, Abercrombie has not made a specific
 showing that any of those evils would ensue from the disclosure
 of these particular witness statements or depositions.
        That leaves the report itself.          Again, the first point to
 be made is that Abercrombie has not identified any specific
 portion of the report which would be particularly prejudicial to
 its defense of the securities cases if disclosed.              Judge Sargus’
 Opinion and Order dismissing the derivative actions makes clear
 that the report is favorable to Abercrombie to the extent that it
 concludes that none of the individual defendants committed any
 unlawful or unauthorized acts which would justify the maintenance
 of a derivative action based on those acts.             The undersigned
 Magistrate Judge has also reviewed that report and does not
 believe that its release to the public, including the securities
 plaintiffs, will harm Abercrombie.          Finally, even if there might
 be some incidental harm to Abercrombie’s ability to defend these
 actions, it is not of sufficient weight to overcome the public
 interest in disclosure.        Thus, having performed the balancing
 required by Perrigo to the extent that such balancing can be done
 on the basis of the parties’ written submissions, the Court
 concludes that disclosure is necessary.
       There are a few additional points to be made.             First,
 Abercrombie argues that no member of the public has been
 clamoring for the release of these materials, so that delaying
 that release would not compromise the public interest.               However,
 the practice of filing court documents in the public record is
 not dependent upon whether any specific member of the public has
 asked to see them.      Further, there is wisdom in the adage that
 “old news is no news.”       The timing of reporting the news is
 sometimes crucial.      As the Supreme Court has noted, “[l]ater
 events may crowd news of yesterday's proceeding out of the public


                                       -9-
Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 10 of 13 PAGEID #: 7992



 view.”    Gannett Co. v. DePasquale, 443 U.S. 368, 441 n.17 (1979)
 (Blackmun, J., concurring in part and dissenting in part).
 Delaying the release of records in which there is a public
 interest in disclosure may well have the effect of negating or
 diluting that interest, and there should therefore be sufficient
 reasons for the delay.        The Court finds no such reasons here.
       Further, the Court doubts that, as a practical matter,
 companies which are the target of both derivative actions and
 private securities litigation will be dissuaded from convening
 special litigation committees, and moving to have the derivative
 actions dismissed, simply because there is a likelihood that the
 committee’s report and accompanying materials will become part of
 the public record, save for any portions of those materials which
 would impact the company’s sensitive or confidential business
 interests or reveal information of a private and injurious
 nature.    That risk would seem to pale in the face of the damage
 the company faces from the continuation of a derivative action
 that is unfounded and subject to dismissal at the company’s
 request.     It appears that many companies in Abercrombie’s
 position have not requested that special litigation committee
 reports be sealed in the first instance and have simply filed
 them as part of the court record.            For example, the dockets of
 the courts involved in these three cases which resulted in
 published opinions do not reflect that the special litigation
 committee report was ever sealed: In re ITT Corp. Derivative
 Litigation, 653 F.Supp. 2d 453 (S.D.N.Y. 2009); In re
 UnitedHealth Group Inc. Shareholder Derivative Litigation, 591
 F.Supp. 2d 1023 (D. Minn. 2008); Madvig v. Gaither, 461 F.Supp.
 2d 398 (W.D.N.C. 2006).        In at least one of those cases, In re
 UnitedHealth Group Inc. Shareholder Derivative Litigation, it
 appears that private securities litigation was also pending when
 the report was filed.        Consequently, the Court is not persuaded


                                       -10-
Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 11 of 13 PAGEID #: 7993



 that its decision runs counter to the public policy reflected in
 statutes which permit a corporation which is the target of
 shareholder derivative litigation to use the special litigation
 committee procedure to defend against that type of suit.
       Last, as the Court has noted above, the parties’ briefs lump
 together the issues of whether the report should be unsealed, and
 whether production of the underlying documents should be
 compelled.     The Court has analyzed both, and finds no reason to
 unseal the report but deny the plaintiffs access to the
 underlying documents.        The Opinion and Order of March 14, 2008
 sets for the reasons why that procedure would not have been fair
 to the derivative plaintiffs, and those considerations apply with
 equal force here.       Although at least one court has declined to
 order production of documents supporting a special litigation
 committee report which was in the public domain (having been
 publicly released by the company itself), see In re Vioxx
 Products Liability Litigation, 2007 WL 854251 (E.D. La. March 6,
 2007), that court reasoned that release of those documents was
 not warranted because the company had not used the report in
 connection any pending litigation, and disavowed any intention of
 doing so in the future.        The court indicated it would reconsider
 its decision if “the ... Report is sought to be used offensively
 in the litigation” or if its author sought to testify.                Id. at
 *5.   Here, the report has been used in litigation for
 Abercrombie’s own purposes, so fairness dictates that the
 underlying documents be produced once the report is made public.
       One final note.      In its earlier orders discussing this
 issue, the Court was concerned that the “reliance on court
 documents” justification for unsealing these records might be
 viewed as automatically requiring the public disclosure of
 special litigation committee reports, including otherwise
 privileged or work-product protected matters, every time the


                                       -11-
Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 12 of 13 PAGEID #: 7994



 Court decides a motion to dismiss which has been supported by
 these types of submission.           The Court’s reading of precedent
 suggests that, indeed, that will occur most of the time, and that
 it is simply one of the factors that a defendant in a derivative
 action must take into account when it files such a motion.
 However, Perrigo certainly leaves it open for any defendant to
 show that specific disclosures of information found within the
 special litigation committee report or supporting materials could
 be harmful and that their non-disclosure does not significantly
 impact the countervailing public interest.             Because no such
 showing has been made here, the Court concludes that disclosure
 of all of the materials is required.
                                VI.    Disposition
       Based on the foregoing, the Court grants plaintiffs’ motion
 to compel (#337).       However, the Court also recognizes that once
 the report is unsealed and viewed by plaintiffs and the public,
 and the underlying documents are produced in discovery, any order
 re-sealing them because this order was issued in error would be a
 futile act.     Therefore, the Court stays this order for the
 fourteen days during which a motion to reconsider can be filed,
 and will entertain a further motion to stay should such a motion
 be made.
                            VII.   Appeal Procedure
       Any party may, within fourteen days after this Order is
 filed, file and serve on the opposing party a motion for
 reconsideration by a District Judge.           28 U.S.C. §636(b)(1)(A),
 Rule 72(a), Fed. R. Civ. P.; Eastern Division Order No. 91-3, pt.
 I., F., 5.     The motion must specifically designate the order or
 part in question and the basis for any objection.              Responses to
 objections are due fourteen days after objections are filed and
 replies by the objecting party are due seven days thereafter.
 The District Judge, upon consideration of the motion, shall set


                                        -12-
Case: 2:05-cv-00819-EAS-TPK Doc #: 374 Filed: 01/28/10 Page: 13 of 13 PAGEID #: 7995



 aside any part of this Order found to be clearly erroneous or
 contrary to law.


                                /s/ Terence P. Kemp
                                United States Magistrate Judge




                                       -13-
